Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 1 of 1€o0rm 1-1

 

 

 

UNITED STATES COURT OF INTERNATIONAL TRADE FORM 1
Ford Motor Company
Plaintiff, SUMMONS
ve Case No. 21-00091
UNITED STATES,
Defendant.

 

 

 

 

 

TO: The Attorney General and the Secretary of Homeland Security:

PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).

/s/ Mario Toscano

 

 

 

Clerk of the Court
PROTEST
Baltimore, MD (1303) | 28s?" 07/23/2013
reest 4303-13-100081 Date Pstes!_99/4 4/2020

 

Importer: Ford Motor Company

 

Category of Transit Connect Vehicles

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Merchandise:
ENTRIES INVOLVED IN ABOVE PROTEST
Entry Date of Date of Entry Date of Date of

Number Entry Liquidation Number Entry Liquidation
300-8607008-1 | 03-Aug-11 | 10-May-13 | 300-8609693-8 | 31-Aug-11 | 10-May-13
300-8607013-1 | 03-Aug-11 | 10-May-13 | 300-8609696-1} 31-Aug-11 | 10-May-13
300-8608241-7 | 07-Sep-11 | 10-May-13 | 300-8609699-5| 31-Aug-11 | 10-May-13
300-8609690-4 | 31-Aug-11 | 10-May-13 | 300-8609903-1} 31-Aug-11 | 10-May-13

 

Port Director,

Gordon D. Todd

 

1501 K Street, N.W.
Washington, DC 20005
+1 202 736 8760
gtodd@sidley.com

Port of Baltimore

40 South Gay Street

Baltimore, MD 21202

Address of Customs Port in

Which Protest was Denied

Name, Address, Telephone Number
and E-mail Address of Plaintiff's Attorney
Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 2 of 1€o0rm 1-2

CONTESTED ADMINISTRATIVE DECISION

 

 

 

Appraised Value of Merchandise

 

Statutory Basis Statement of Value

 

Appraised:

 

Protest Claim:

 

 

———
Classification, Rate or Amount

 

 

 

Assessed Protest Claim
Paragraph or Paragraph or
Merchandise Item Number Rate Item Number Rate
Ford Transit |8704.31.0020 25 percent 8703.23.0052 2.5
Connect percent

Vehicles

 

 

 

 

Other
State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:

—_—_——_—
The issue which was common to all such denied protests:

Classification of the vehicles under 8703.23.0052: CBP did not follow 19 USC 1625(c) (prior treatment) or 19
USC 1315(d) (established and uniform practice) procedures in changing the classification to 8704.31.0020

 

 

 

 

 

Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at
the port of entry unless otherwise shown.

Digitally signed by Todd, Gordon D.
Todd, Gordon D . Date: 2021.03.04 09:26:37 -05'00'

Signature of Plaintiff's Attorney

 

3/4/2021

 

Date
Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 3 of 1@o0rm 1-3

 

 

 

 

 

 

 

 

 

 

 

Baltimore SCHEDULE OF PROTESTS
Port of Entry

Protest Date Protest Date Protest Entry Date of Date of

Number Filed Denied Number Entry Liquidation

1303-13-10008 | 07/23/2013 09/11/2020 300-8609904-9 | 31-Aug-11 10-May-13

1 300-8613277-4 | 25-Oct-11 10-May-13
300-8610728-9 | 30-Sep-11 10-May-13
300-8611456-6 | 30-Sep-11 10-May-13
300-8612764-2 | 17-Oct-11 10-May-13
300-8612817-8 | 17-Oct-11 10-May-13
300-8613276-6 | 25-Oct-11 10-May-13
300-8615258-2 | 04-Nov-11 10-May-13
300-8617246-5 | 24-Nov-11 10-May-13
300-8617250-7 | 24-Nov-11 10-May-13
300-8619821-3 | 11-Jan-12 10-May-13
300-8619822-1 | 11-Jan-12 10-May-13
300-8621538-9 | 24-Jan-12 10-May-13
300-8621547-0 | 30-Jan-12 10-May-13
300-8622011-6 | 21-Jan-12 10-May-13
300-8622013-2 | 21-Jan-12 10-May-13
300-8622017-3 | 24-Jan-12 10-May-13
300-8624095-7 | 14-Feb-12 10-May-13
300-8624096-5 | 14-Feb-12 10-May-13
300-8624097-3 | 14-Feb-12 10-May-13
300-8624098-1 | 14-Feb-12 10-May-13
300-8624099-9 | 14-Feb-12 10-May-13
300-7001394-9 | 19-Mar-12 10-May-13
300-7001395-6 | 19-Mar-12 10-May-13
300-7001397-2 | 19-Mar-12 10-May-13
300-7001399-8 | 19-Mar-12 10-May-13
300-7001400-4 | 19-Mar-12 10-May-13
300-7001775-9 | 15-Mar-12 10-May-13
300-7001777-5 | 15-Mar-12 10-May-13
300-7001779-1 | 15-Mar-12 10-May-13

Port Director of Customs,

If the port of entry shown

above is different from the
port of entry shown on the
first page of the summons,
the address of the Port
Director for such different
port of entry must be given
in the space provided.

 

 

 

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 4 of 1@o0rm 1-3

Baltimore, MD

SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of

Number Filed Denied Number Entry Liquidation

1303-13-10008 | 07/23/2013 09-11-2020 300-7003955-5 | 10-Apr-12 10-May-13

1 300-7003956-3 | 10-Apr-12 10-May-13
300-7003957-1 | 10-Apr-12 10-May-13
300-7003958-9 | 10-Apr-12 10-May-13
300-7003959-7 | 10-Apr-12 10-May-13
300-7005710-2 | 25-Apr-12 10-May-13
300-7005712-8 | 25-Apr-12 10-May-13
300-7005716-9 | 25-Apr-12 10-May-13
300-7007956-9 | 15-May-12 10-May-13
300-7007969-2 | 15-May-12 10-May-13
300-7007970-0 | 15-May-12 10-May-13
300-7010398-9 | 05-Jul-12 10-May-13
300-7010404-5 | 05-Jul-12 10-May-13
300-7010410-2 | 05-Jul-12 10-May-13
300-7010415-1 | 05-Jul-12 10-May-13
300-7010420-1 | 05-Jul-12 10-May-13
300-7010425-0 | 05-Jul-12 10-May-13
300-7011421-8 | 19-Jun-12 10-May-13
300-7011422-6 | 19-Jun-12 10-May-13
300-7011423-4 | 19-Jun-12 10-May-13
300-7011424-2 | 19-Jun-12 10-May-13
300-7011425-9 | 19-Jun-12 10-May-13
300-7011505-8 | 27-Jun-12 10-May-13
300-7011506-6 | 27-Jun-12 10-May-13
300-7011508-2 | 27-Jun-12 10-May-13
300-7012667-5 | 14-Jul-12 10-May-13
300-7012668-3 | 14-Jul-12 10-May-13
300-7012670-9 | 15-Aug-12 10-May-13
300-7015002-2 | 18-Jul-12 10-May-13
300-7015007-1 | 18-Jul-12 10-May-13

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Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 5 of 1€o0rm 1-3

Baltimore, MD (1 303) SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of

Number Filed Denied Number Entry Liquidation

1303-13-10008 | 23-Jul-13 11-Sep-20 300-7016105-2 | 13-Aug-12 10-May-13

1 300-7016106-0 | 30-Jul-12 10-May-13
300-7016108-6 | 30-Jul-12 10-May-13
300-7016109-4 | 30-Jul-12 10-May-13
300-7016110-2 | 30-Jul-12 10-May-13
300-7016111-0 | 30-Jul-12 10-May-13
300-7017313-1 | 21-Aug-12 10-May-13
300-7017314-9 | 21-Aug-12 10-May-13
300-7018264-5 | 27-Aug-12 10-May-13
300-7018265-2 | 18-Aug-12 10-May-13
300-7018266-0 | 18-Aug-12 10-May-13
300-7018268-6 | 18-Aug-12 10-May-13
300-7018269-4 | 18-Aug-12 10-May-13
300-7018270-2 | 27-Aug-12 10-May-13
300-7018271-0 | 18-Aug-12 10-May-13
300-7018272-8 | 18-Aug-12 10-May-13
300-7019442-6 | 19-Sep-12 10-May-13
300-7019781-7 | 05-Sep-12 10-May-13
300-7019783-3 | 12-Sep-12 10-May-13
300-7019786-6 | 05-Sep-12 10-May-13
300-7019979-7 | 05-Sep-12 10-May-13
300-7021846-4 | 22-Sep-12 10-May-13
300-7021847-2 | 02-Oct-12 10-May-13
300-7025727-2 | 18-Oct-12 10-May-13
300-7025729-8 | 18-Oct-12 10-May-13
300-7025731-4 | 22-Oct-12 10-May-13
300-7025735-5 | 22-Oct-12 10-May-13
300-7025739-7 | 22-Oct-12 10-May-13
300-7025740-5 | 22-Oct-12 10-May-13
300-7025741-3 | 18-Oct-12 10-May-13

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Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 6 of 1@o0rm 1-3

 

 

 

 

 

 

 

 

 

 

 

Ba Iti more, M D SCHEDULE OF PROTESTS
Port of Entry
Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation

1303-13-10008 | 23-Jul-13 11-Sep-20 300-7026806-3 | 02-Nov-12 10-May-13

1 300-7026807-1 | 02-Nov-12 10-May-13
300-7026808-9 | 02-Nov-12 10-May-13
300-7026809-7 | 09-Nov-12 10-May-13
300-7026810-5 | 02-Nov-12 10-May-13
300-7029174-3 | 19-Nov-12 10-May-13
300-7029178-4 | 15-Dec-12 10-May-13
300-7029181-8 | 15-Dec-12 10-May-13
300-7032437-9 | 12-Dec-12 10-May-13
300-7032439-5 | 12-Dec-12 10-May-13
300-7032442-9 | 18-Dec-12 10-May-13
300-7034613-3 | 17-Jan-13 10-May-13
300-7034616-6 | 14-Jan-13 10-May-13
300-7034618-2 | 14-Jan-13 10-May-13
300-7443347-3 | 14-Jan-13 10-May-13
300-7443350-7 | 22-Jan-13 10-May-13
300-7443354-9 | 22-Jan-13 10-May-13
300-7443357-2 | 14-Jan-13 10-May-13
300-7443359-8 | 22-Jan-13 10-May-13
300-7443360-6 | 31-Jan-13 10-May-13
300-7445901-5 | 07-Feb-13 10-May-13
300-7445902-3 | 07-Feb-13 10-May-13
300-7445903-1 | 07-Feb-13 10-May-13
300-7445904-9 | 07-Feb-13 10-May-13
300-7445905-6 | 12-Feb-13 10-May-13
300-7445906-4 | 12-Feb-13 10-May-13
300-7446013-8 | 12-Feb-13 10-May-13
300-7446014-6 | 12-Feb-13 10-May-13
300-7448240-5 | 12-Mar-13 10-May-13
300-7448241-3 | 12-Mar-13 10-May-13

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Baltimore, MD

SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation
1303-13-10008 | 23-Jul-13 11-Sep-20 300-8617245-7 | 24-Nov-11 10-May-13
1 300-8617247-3 | 24-Nov-11 10-May-13
300-8617248-1 | 24-Nov-11 10-May-13
300-8617251-5 | 24-Nov-11 10-May-13
300-8617252-3 | 24-Nov-11 10-May-13
300-8618547-5 | 22-Dec-11 10-May-13
300-8618548-3 | 22-Dec-11 10-May-13
300-8622022-3 | 21-Jan-12 10-May-13
300-8625178-0 | 01-Mar-12 10-May-13
300-8625180-6 | 01-Mar-12 10-May-13
300-8625185-5 | 01-Mar-12 10-May-13
300-8625188-9 | 01-Mar-12 10-May-13

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Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 8 of 1€orm 1-3

Jacksonville, FL (1803) SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation

1803-13-10003 | 23-Jul-13 14-Oct-20 300-8457051-2 | 18-Apr-11 29-Mar-13

2 300-8457052-0 | 18-Apr-11 29-Mar-13
300-8457053-8 | 18-Apr-11 29-Mar-13
300-8457057-9 | 18-Apr-11 29-Mar-13
300-8459358-9 | 16-May-11 29-Mar-13
300-8459359-7 | 16-May-11 29-Mar-13
300-8459360-5 | 16-May-11 29-Mar-13
300-8459365-4 | 16-May-11 29-Mar-13
300-8603303-0 | 16-Jun-11 29-Mar-13
300-8603305-5 | 20-Jun-11 05-Apr-13
300-8603306-3 | 16-Jun-11 05-Apr-13
300-8605498-6 | 18-Jul-11 05-Apr-13
300-8605500-9 | 18-Jul-11 05-Apr-13
300-8607015-6 | 31-Jul-11 05-Apr-13
300-8607017-2 | 31-Jul-11 05-Apr-13
300-8607137-8 | 31-Jul-11 05-Apr-13
300-8607141-0 | 31-Jul-11 05-Apr-13
300-8607143-6 | 02-Aug-11 05-Apr-13
300-8607144-4 | 31-Jul-11 05-Apr-13
300-8607145-1 | 31-Jul-11 05-Apr-13
300-8607146-9 | 02-Aug-11 05-Apr-13
300-8609687-0 | 29-Aug-11 05-Apr-13
300-8609689-6 | 29-Aug-11 05-Apr-13
300-8609691-2 | 29-Aug-11 05-Apr-13
300-8609694-6 | 29-Aug-11 05-Apr-13
300-8609695-3 | 29-Aug-11 05-Apr-13
300-8609700-1 | 29-Aug-11 05-Apr-13
300-8610727-1 | 04-Oct-11 05-Apr-13
300-8612760-0 | 13-Oct-11 05-Apr-13
300-8612790-7 | 13-Oct-11 05-Apr-13

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Port of Jacksonville
10426 Alta Drive
Jacksonville, FL 32226

 

 

 

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 9 of 1@o0rm 1-3

Jacksonville. FL SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation

1803-13-10003 | 23-Jul-13 14-Oct-20 300-8615329-1 | 06-Nov-11 05-Apr-13

2 300-8615330-9 | 06-Nov-11 05-Apr-13
300-8615331-7 | 06-Nov-11 05-Apr-13
300-8615332-5 | 06-Nov-11 05-Apr-13
300-8615333-3 | 06-Nov-11 05-Apr-13
300-8615334-1 | 06-Nov-11 05-Apr-13
300-8615347-3 | 06-Nov-11 05-Apr-13
300-8617257-2 | 27-Nov-11 05-Apr-13
300-8617258-0 | 27-Nov-11 05-Apr-13
300-8617259-8 | 27-Nov-11 05-Apr-13
300-8617260-6 | 27-Nov-11 05-Apr-13
300-8617261-4 | 29-Nov-11 05-Apr-13
300-8619984-9 | 30-Dec-11 05-Apr-13
300-8619985-6 | 30-Dec-11 19-Apr-13
300-8619986-4 | 30-Dec-11 05-Apr-13
300-8619987-2 | 30-Dec-11 05-Apr-13
300-8619988-0 | 30-Dec-11 05-Apr-13
300-8619989-8 | 30-Dec-11 05-Apr-13
300-8619992-2 | 30-Dec-11 05-Apr-13
300-8622003-3 | 21-Jan-12 05-Apr-13
300-8622005-8 | 21-Jan-12 05-Apr-13
300-8622007-4 | 21-Jan-12 05-Apr-13
300-8622009-0 | 21-Jan-12 05-Apr-13
300-8622337-5 | 21-Jan-12 05-Apr-13
300-7001403-8 | 15-Mar-12 29-Mar-13
300-7001788-2 | 22-Mar-12 29-Mar-13
300-7001789-0 | 22-Mar-12 19-Apr-13
300-7001791-6 | 22-Mar-12 29-Mar-13
300-7001792-4 | 22-Mar-12 29-Mar-13
300-7001793-2 | 22-Mar-12 29-Mar-13

Port Director of Customs,

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Port of Jacksonville
10426 Alta Drive
Jacksonville, FL 32226

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Case 1:21-cv-00091-N/A Document 8 _ Filed 03/05/21 Page 10 of 1Borm 1-3

Jacksonville. FL SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of

Number Filed Denied Number Entry Liquidation

1803-13-10003 | 23-Jul-13 14-Oct-20 300-7001883-1 | 22-Mar-12 29-Mar-13

2 300-7004354-0 | 14-Apr-12 29-Mar-13
300-7004355-7 | 14-Apr-12 29-Mar-13
300-7004356-5 | 14-Apr-12 29-Mar-13
300-7004357-3 | 14-Apr-12 29-Mar-13
300-7004358-1 | 14-Apr-12 29-Mar-13
300-7004359-9 | 14-Apr-12 29-Mar-13
300-7004360-7 | 14-Apr-12 29-Mar-13
300-7005749-0 | 29-Apr-12 29-Mar-13
300-7005750-8 | 29-Apr-12 29-Mar-13
300-7005751-6 | 29-Apr-12 29-Mar-13
300-7005753-2 | 30-Apr-12 29-Mar-13
300-7005755-7 | 29-Apr-12 29-Mar-13
300-7007957-7 | 17-May-12 29-Mar-13
300-7007962-7 | 17-May-12 29-Mar-13
300-7007963-5 | 17-May-12 29-Mar-13
300-7007964-3 | 17-May-12 29-Mar-13
300-7007966-8 | 17-May-12 29-Mar-13
300-7007967-6 | 17-May-12 29-Mar-13
300-7010426-8 | 13-Jun-12 29-Mar-13
300-7010427-6 | 13-Jun-12 29-Mar-13
300-7010428-4 | 13-Jun-12 29-Mar-13
300-7010429-2 | 13-Jun-12 29-Mar-13
300-7010432-6 | 13-Jun-12 29-Mar-13
300-7011378-0 | 17-Jun-12 29-Mar-13
300-7011380-6 | 17-Jun-12 29-Mar-13
300-7011384-8 | 17-Jun-12 29-Mar-13
300-7011386-3 | 17-Jun-12 29-Mar-13
300-7011408-5 | 23-Jun-12 03-May-13

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Port of Jacksonville
10426 Alta Drive
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Case 1:21-cv-00091-N/A Document 8 Filed 03/05/21 Page 11 of 1Borm 1-3

Jacksonville. FL SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation
1803-13-10003 | 23-Jul-13 14-Oct-20 300-7011409-3 | 23-Jun-12 29-Mar-13
2 300-7011411-9 | 23-Jun-12 29-Mar-13
300-7011412-7 | 23-Jun-12 29-Mar-13
300-7011414-3 | 23-Jun-12 29-Mar-13
300-7011415-0 | 23-Jun-12 29-Mar-13
300-7011545-4 | 18-Jun-12 29-Mar-13
300-7011546-2 | 18-Jun-12 29-Mar-13
300-7011547-0 | 18-Jun-12 29-Mar-13
300-7011548-8 | 18-Jun-12 03-May-13
300-8624634-3 | 18-Feb-12 05-Apr-13
300-8624635-0 | 18-Feb-12 05-Apr-13
300-8624636-8 | 18-Feb-12 05-Apr-13
300-8624637-6 | 18-Feb-12 05-Apr-13
300-8624638-4 | 18-Feb-12 05-Apr-13
300-8624639-2 | 18-Feb-12 05-Apr-13
300-8624640-0 | 18-Feb-12 05-Apr-13
300-8625181-4 | 15-Mar-12 19-Apr-13
300-8625182-2 | 15-Mar-12 05-Apr-13
300-8625191-3 | 09-Mar-12 05-Apr-13
300-8625195-4 | 15-Mar-12 05-Apr-13
300-7005752-4 | 29-Apr-12 29-Mar-13
300-7011413-5 | 23-Jun-12 29-Mar-13
300-7011543-9 | 17-Jun-12 29-Mar-13
300-7012664-2 | 10-Jul-12 29-Mar-13
300-7012665-9 | 10-Jul-12 29-Mar-13
300-7012666-7 | 10-Jul-12 29-Mar-13
300-7014994-1 | 18-Jul-12 29-Mar-13
300-7014995-8 | 18-Jul-12 29-Mar-13
300-7014996-6 | 18-Jul-12 29-Mar-13
300-7014997-4 | 19-Jul-12 29-Mar-13
Port Director of Customs,
If the port of entry shown
Port of Jacksonville above is different from the
10426 Alta Drive port of entry shown on the
Jacksonville, FL 32226 first page of the summons,
the address of the Port
Director for such different
port of entry must be given
in the space provided.

 

 

 

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
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Jacksonville. FL SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation
1803-13-10003 | 23-Jul-13 14-Oct-20 300-7014999-0 | 18-Jul-12 29-Mar-13
2 300-7016112-8 | 04-Aug-12 29-Mar-13
300-7016113-6 | 04-Aug-12 29-Mar-13
300-7016114-4 | 04-Aug-12 29-Mar-13
300-7017320-6 | 14-Aug-12 29-Mar-13
300-7017322-2 | 14-Aug-12 29-Mar-13
300-7017324-8 | 14-Aug-12 29-Mar-13
300-7017326-3 | 14-Aug-12 29-Mar-13
300-7017329-7 | 14-Aug-12 29-Mar-13
300-7019438-4 | 31-Aug-12 29-Mar-13
300-7019440-0 | 04-Sep-12 29-Mar-13
300-7019443-4 | 31-Aug-12 29-Mar-13
300-7019788-2 | 08-Sep-12 29-Mar-13
300-7019790-8 | 10-Sep-12 29-Mar-13
300-7019794-0 | 08-Sep-12 29-Mar-13
300-7025742-1 | 21-Oct-12 29-Mar-13
300-7025743-9 | 21-Oct-12 29-Mar-13
300-7025745-4 | 21-Oct-12 29-Mar-13
300-7025746-2 | 22-Oct-12 29-Mar-13
300-7025748-8 | 22-Oct-12 29-Mar-13
300-7026800-6 | 10-Nov-12 29-Mar-13
300-7026801-4 | 10-Nov-12 29-Mar-13
300-7026803-0 | 10-Nov-12 29-Mar-13
300-7029169-3 | 18-Dec-12 29-Mar-13
300-7032441-1 | 15-Dec-12 29-Mar-13
300-7032445-2 | 15-Dec-12 29-Mar-13
300-7032446-0 | 15-Dec-12 29-Mar-13
300-7443365-5 | 28-Jan-13 29-Mar-13
300-7443369-7 | 28-Jan-13 29-Mar-13
300-7001790-8 | 22-Mar-12 05-Apr-13

 

 

Port Director of Customs,

 

If the port of entry shown
above is different from the
port of entry shown on the
first page of the summons,
the address of the Port
Director for such different
port of entry must be given
in the space provided.

Port of Jacksonville
10426 Alta Drive
Jacksonville, FL 32226

 

 

 

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
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Jacksonville. FL SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation
1803-13-10003 | 23-Jul-13 14-Oct-20 300-7029168-5 | 18-Dec-12 05-Apr-13
2 300-7032444-5 | 15-Dec-12 05-Apr-13
300-7032447-8 | 18-Dec-12 05-Apr-13
300-7034600-0 | 02-Jan-13 05-Apr-13
300-7034601-8 | 02-Jan-13 05-Apr-13
300-7034602-6 | 02-Jan-13 05-Apr-13
300-7034603-4 | 02-Jan-13 05-Apr-13
300-7034604-2 | 02-Jan-13 05-Apr-13
300-7034605-9 | 02-Jan-13 05-Apr-13
300-7034607-5 | 04-Jan-13 05-Apr-13
300-7443363-0 | 27-Jan-13 05-Apr-13
300-7443364-8 | 27-Jan-13 05-Apr-13
300-7443366-3 | 27-Jan-13 05-Apr-13
300-7443367-1 | 27-Jan-13 05-Apr-13
300-7443368-9 | 27-Jan-13 05-Apr-13
300-7443372-1 | 27-Jan-13 05-Apr-13
300-7445829-8 | 08-Feb-13 05-Apr-13
300-7445833-0 | 08-Feb-13 05-Apr-13
300-7445842-1 | 08-Feb-13 05-Apr-13
300-7445850-4 | 08-Feb-13 05-Apr-13
300-8605499-4 | 18-Jul-11 05-Apr-13
300-8622008-2 | 21-Jan-12 05-Apr-13
300-8622004-1 | 21-Jan-12 19-Apr-13

Port Director of Customs,
If the port of entry shown

above is different from the
port of entry shown on the
first page of the summons,
the address of the Port
Director for such different
port of entry must be given
in the space provided.

Port of Jacksonville
10426 Alta Drive
Jacksonville, FL 32226

 

 

 

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
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Jacksonville. FL SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation
1803-13-10004 | 26-Nov-13 14-Oct-20 300-7448234-8 | 05-Mar-13 13-Sep-13
8 300-7448235-5 | 05-Mar-13 13-Sep-13

300-7448236-3 | 05-Mar-13 13-Sep-13
300-7448237-1 | 05-Mar-13 13-Sep-13
300-7448239-7 | 05-Mar-13 20-Sep-13
300-7448238-9 | 06-Mar-13 08-Nov-13
Port Director of Customs,
If the port of entry shown

above is different from the
port of entry shown on the
first page of the summons,
the address of the Port
Director for such different
port of entry must be given
in the space provided.

Port of Jacksonville
10426 Alta Drive
Jacksonville, FL 32226

 

 

 

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
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Port Hueneme, CA (2713) SCHEDULE OF PROTESTS

 

Port of Entry

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation

2704-13-10143 | 25-Jul-13 09-Sep-20 300-8621427-5 | 28-Jan-12 22-Mar-13

4 300-8621433-3 | 28-Jan-12 22-Mar-13
300-7002204-9 | 23-Mar-12 29-Mar-13
300-7002397-1 | 04-Apr-12 29-Mar-13
300-8623580-9 | 23-Feb-12 29-Mar-13
300-8624934-7 | 08-Mar-12 29-Mar-13
300-7002400-3 | 04-Apr-12 05-Apr-13
300-7003996-9 | 18-Apr-12 05-Apr-13
300-7006319-1 | 03-May-12 05-Apr-13
300-7006321-7 | 03-May-12 05-Apr-13
300-7007354-7 | 24-May-12 05-Apr-13
300-7007355-4 | 24-May-12 05-Apr-13
300-7009376-8 | 12-Jun-12 05-Apr-13
300-7009377-6 | 12-Jun-12 05-Apr-13
300-7009378-4 | 02-Jun-12 05-Apr-13
300-7011399-6 | 28-Jun-12 05-Apr-13
300-7011400-2 | 28-Jun-12 05-Apr-13
300-7012679-0 | 15-Jul-12 05-Apr-13
300-7012681-6 | 15-Jul-12 05-Apr-13
300-7012689-9 | 13-Jul-12 05-Apr-13
300-7014255-7 | 30-Jul-12 05-Apr-13
300-7014256-5 | 30-Jul-12 05-Apr-13
300-7014258-1 | 30-Jul-12 05-Apr-13
300-7015137-6 | 08-Aug-12 05-Apr-13
300-7015138-4 | 08-Aug-12 05-Apr-13
300-7019446-7 | 05-Sep-12 05-Apr-13
300-7019447-5 | 05-Sep-12 05-Apr-13
300-7019550-6 | 05-Sep-12 05-Apr-13
300-7019551-4 | 03-Sep-12 05-Apr-13
300-7019552-2 | 03-Sep-12 05-Apr-13

Port Director of Customs,

If the port of entry shown

Port of Port Hueneme
720 W. Hueneme Road
Oxnard, CA 93033

above is different from the
port of entry shown on the
first page of the summons,
the address of the Port
Director for such different
port of entry must be given
in the space provided.

 

 

 

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
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Port Hueneme, C

 

Port of Entry

A SCHEDULE OF PROTESTS

 

 

 

 

 

 

 

 

 

 

Protest Date Protest Date Protest Entry Date of Date of
Number Filed Denied Number Entry Liquidation
2704-13-10143 | 25-Jul-13 09-Sep-20 300-7019556-3 | 03-Sep-12 05-Apr-13
4 300-7019557-1 | 03-Sep-12 05-Apr-13
300-7019560-5 | 05-Sep-12 05-Apr-13
300-7020921-6 | 19-Sep-12 05-Apr-13
300-7020922-4 | 19-Sep-12 05-Apr-13
300-7020924-0 | 19-Sep-12 05-Apr-13
300-7024514-5 | 20-Oct-12 05-Apr-13
300-7024515-2 | 20-Oct-12 05-Apr-13
300-7024516-0 | 20-Oct-12 05-Apr-13
300-7025516-9 | 02-Nov-12 05-Apr-13
300-7025517-7 | 31-Oct-12 05-Apr-13
300-7027749-4 | 16-Nov-12 05-Apr-13
300-7027752-8 | 15-Nov-12 05-Apr-13
300-7029205-5 =| 28-Nov-12 05-Apr-13
300-7030148-4 |08-Dec-12 05-Apr-13
300-7031749-8 | 12-Dec-12 05-Apr-13
300-7031750-6 | 12-Dec-12 05-Apr-13
300-7032448-6 | 26-Dec-12 05-Apr-13
300-7032450-2 |27-Dec-12 05-Apr-13
300-7034323-9 | 09-Jan-13 05-Apr-13
300-7035183-6 | 09-Jan-13 05-Apr-13
300-7035184-4 | 09-Jan-13 05-Apr-13
300-7443377-0 | 25-Jan-13 05-Apr-13
300-7443379-6 | 28-Jan-13 05-Apr-13
300-7445598-9 | 11-Feb-13 05-Apr-13
300-7447583-9 | 20-Feb-13 05-Apr-13
300-7447584-7 | 22-Feb-13 05-Apr-13
300-8615226-9 | 18-Nov-11 05-Apr-13
300-8622510-7 | 09-Feb-12 05-Apr-13
300-8624940-4 | 08-Mar-12 05-Apr-13
300-7447865-0 | 04-Mar-13 17-May-13
300-7447866-8 | 07-Mar-13 28-Jun-13
Port Director of Customs,
If the port of entry shown

above is different from the
port of entry shown on the
first page of the summons,
the address of the Port
Director for such different
port of entry must be given
in the space provided.

Port of Port Hueneme
720 W. Hueneme Road
Oxnard, CA 93033

 

 

 

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2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
